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             IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE:                                     BANKRUPTCY NO. 19-11188
  ROBIN A. WILLIAMS
  AKA ROBIN A. COLON                         CHAPTER 7
  AKA ROBIN ANN COLON
  AKA ROBIN ANN WILLIAMS
  AKA ROBIN COLON
  AKA ROBIN WILLIAMS

          DEBTORS

   DEBTOR’S MOTION TO AVOID LIEN OF MDIDLAND FUNDING, LLC,
             PURSUANT TO 11 U.S.C. SECTION 522(F)

     1. Debtor, Robin A. Williams, commenced this action on February 27, 2019
     by filing a voluntary petition for relief under Chapter 7 of Title 11 of the United
     States Code.

     2. Jurisdiction of the Bankruptcy Court to hear this motion is provided by 28
     U.S.C. Section 1334.

     3. This Motion is filed by the Debtor under 11 U.S.C. Sections 522(f) to avoid
     and cancel the lien of Midland Funding, LLC, on 729 N 8th Street, Reading,
     Pennsylvania 19604 and 1120 Mulberry Street, Reading, Pennsylvania 19604.

     4. Midland Funding, LLC currently claims a lien by virtue of a judgment
     recorded in Berks County to Docket Number 18-19709 in the amount of
     $1,500.01plus costs on Debtor’s property located at 729 N 8th Street, Reading,
     Pennsylvania 19604 and 1120 Mulberry Street, Reading, Pennsylvania 19604.
     See Notice of Judgment or Order attached as Exhibit “A”.

     5. Midland Funding, LLC alleges that Debtor failed to make monthly
     payments on a credit card issued to the Debtor, and ceased making such
     payments on or about November of 2017, which gave rise to the cause of
     action under which the judgment lien was issued.
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     6. Debtor owns and resides at his primary residence located 729 N. 8th Street,
     Reading, Berks County, Pennsylvania 19604. The fair market value of the real
     estate is approximately $34,184.00. See Debtor’s Schedule A/B attached as
     Exhibit “B”.

     7. Debtor further owns property located at 1120 Mulberry Street, Reading,
     Pennsylvania 19604 as a joint tenant with right of survivorship with Antonio
     L. Colon, and therefore has only a ½ interest in that property. The fair market
     value of this property is $49,016.00. [Exhibit B].

     8. There are secured liens on the property located at 729 N. 8th Street,
     Reading, Berks County, Pennsylvania 19604 which include a first mortgage
     with an approximate combined balance owed of $13,089.09 held by Wells
     Fargo Home Mortgage. See Debtors’ Schedule D attached as Exhibit “C”.

     9. Further, there are secured liens on the property located at 1120 Mulberry
     Street, Reading, Berks County, Pennsylvania 19604 which include a first
     mortgage with an approximate combined balance owed of $36,316.00 held by
     Wells Fargo Home Mortgage. [Exhibit C].

     10. As such, Debtor has equity in her primary residence located at 729 N. 8th
     Street, Reading, Berks County, Pennsylvania 19604 in an amount of only
     $17,675.51.

     11. The Debtor has exempted all equity in the primary residence pursuant to
     11 U.S.C. Section 522 (d)(1). The Debtor is therefore entitled to any equity and
     is entitled to avoid the lien of Midland Funding, LLC. See Debtor’s Schedule C
     attached as Exhibit “D”. For this reason, the entire lien on 729 N. 8th Street,
     Reading, Berks County, Pennsylvania 19604 is avoidable under Section
     522(f)(1)(a).

     12. The existence of this lien on the 729 N. 8th Street property held by Debtor
     impairs exemptions to which the Debtor would be entitled under 11 U.S.C.
     Section 522(b) on Debtor’s personal and real property and such constitute
     avoidable liens under section 522(b).

     13. Further, the Debtor has equity in the her ½ interest of the property
     located at 1120 Mulberry Street, Reading, Berks County, Pennsylvania 19604
     in an amount of only $4,000.00.

     14. The Debtor has exempted all equity in the 1120 Mulberry Street property
     pursuant to 11 U.S.C. Section 522 (d)(5). The Debtor is therefore entitled to
     any equity and is entitled to avoid the lien of Midland Funding, LLC on 1120
     Mulberry Street, Reading, Berks County, Pennsylvania 19604. See Debtor’s
     Schedule C attached as Exhibit “D”. For this reason, the entire lien is
     avoidable under Section 522(f)(1)(a).
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     15. The existence of this lien on the 1120 Mulberry Street property held jointly
     by Debtor and Antonio L. Colon impairs exemptions to which the Debtor
     would be entitled under 11 U.S.C. Section 522(b) on Debtor’s personal and
     real property and such constitute avoidable liens under section 522(b).
     16.

     17. Under Section 522(f)(1)(A) the lien of Midland Funding, LLC, on Debtor’s
     real property located at both 729 N. 8th Street, Reading, Berks County,
     Pennsylvania 19604 and 1120 Mulberry Street, Reading, Berks County,
     Pennsylvania 19604 is avoidable because it is a judicial lien which impairs
     Debtor’s exemption in his real property.

    WHEREFORE, Debtor moves this Court to enter the Order attached hereto,
    which cancels and avoids the judicial lien on Debtor’s primary residence
    located at 729 N. 8th Street, Reading, Berks County, Pennsylvania 19604 and
    the Debtor’s interest in the real property located at 1120 Mulberry Street,
    Reading, Berks County, Pennsylvania 19604.


  Dated: March 19, 2019                               /s/Shawn J. Lau
                                                     Shawn J. Lau, Esquire
                                                     Lau & Associates, P.C.
                                                      Attorney for Debtor
